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                         Attorneys for Defendants
                     9
                    10                           IN THE UNITED STATES DISTRICT COURT
                                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
                    11                                  SAN FRANCISCO DIVISION

                    12   SCOTT CRAWFORD,
                                                                      Case No. 3:17-cv-02664-RS
                    13                          Plaintiff,
                                                                      DEFENDANTS’ ADMINISTRATIVE
                    14                  v.                            MOTION FOR CLARIFICATION
                    15   UBER TECHNOLOGIES, INC. and
                         RASIER, LLC,
                    16
                                                Defendants.
                    17
                         STEPHAN NAMISNAK and FRANCIS
                    18   FALLS,                                       Case No. 3:17-cv-06124-RS
                    19                          Plaintiffs,           DEFENDANTS’ ADMINISTRATIVE
                                                                      MOTION FOR CLARIFICATION
                    20                  v.
                    21   UBER TECHNOLOGIES, INC. and
                         RASIER, LLC,
                    22
                                                Defendants.
                    23

                    24

                    25

                    26

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                    28
MORGAN, LEWIS &
 BOCKIUS LLP             Case No. 3:17-cv-02664-RS                                    DEFENDANTS’ MOTION FOR
 ATTORNEYS AT LAW        Case No. 3:17-cv-06124-RS                                            CLARIFICATION
 WASHINGTON, D.C.
        Case 3:17-cv-02664-RS Document 253 Filed 01/18/22 Page 2 of 2



 1          Pursuant to Local Civil Rule 7-11, Defendants respectfully seek an order clarifying whether

 2   the Court, in its August 26, 2021 order, granted Plaintiffs’ motion for summary on the issue whether

 3   Plaintiffs have Article III standing for their claim under 42 U.S.C. § 12184(b)(2)(A), as opposed to

 4   merely denying Defendants’ cross-motion for summary judgment on the same issue. See Crawford,

 5   ECF No. 197 at 6; Namisnak, ECF No. 160 at 6.

 6          Plaintiffs moved for summary judgment as to the issue of whether they have Article III

 7   standing to bring their claims under 42 U.S.C. § 12184(b)(2)(A). See Crawford, ECF No. 195 at

 8   20–21. The Court appears to have granted Plaintiffs’ motion on that issue, as opposed to simply

 9   denying Defendants’ cross-motion on the same issue. See Crawford, ECF No. 197 at 6; Namisnak,
10   ECF No. 160 at 6. Plaintiffs have stipulated that they share this interpretation of the Court’s

11   August 26, 2021 order. See Crawford, ECF No. 230 § F.7; Namisnak, ECF No. 190 § F.7.

12          So that the record is clear on this topic, and without waiving any appellate rights,

13   Defendants respectfully move this Court to enter an order clarifying whether it granted Plaintiffs’

14   motion for summary judgment on the issue of Plaintiffs’ Article III standing to bring their claim

15   under 42 U.S.C. § 12184(b)(2)(A), as opposed to merely denying Defendants’ cross-motion on the

16   same issue.

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                                                          Respectfully submitted,
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19                                                        MORGAN, LEWIS & BOCKIUS LLP

20    Dated: January 18, 2022                             By:    s/ Anne Marie Estevez
                                                                 Anne Marie Estevez
21                                                               Ethel J. Johnson
                                                                 Stephanie Schuster
22
                                                                 Patrick Harvey
23                                                               Kathy H. Gao

24                                                              Attorneys for Defendants

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     Case No. 3:17-cv-02664-RS                                                DEFENDANTS’ MOTION FOR
     Case No. 3:17-cv-06124-RS
                                                      1                               CLARIFICATION;
